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 1   CAROLYN S. TOTO (SBN 233825)
       carolyn.toto@pillsburylaw.com
 2   JEFFREY D. WEXLER (SBN 132256)
       jeffrey.wexler@pillsburylaw.com
 3   SARKIS A. KHACHATRYAN (SBN 293991)
       sarkis.khachatryan@pillsburylaw.com
 4   PILLSBURY WINTHROP SHAW PITTMAN LLP
     725 South Figueroa Street, Suite 2800
 5   Los Angeles, CA 90017-5406
     Telephone: (213) 488-7100
 6   Facsimile No.: (213) 629-1033
 7   Attorneys for Plaintiff
     In-N-Out Burgers
 8

 9                       UNITED STATES DISTRICT COURT
10                     CENTRAL DISTRICT OF CALIFORNIA
11

12
                                           )
13   IN-N-OUT BURGERS, a California        )    Case No. 8:17-cv-1474
     corporation,                          )
14                                         )    PLAINTIFF IN-N-OUT BURGERS’
                              Plaintiff,   )    COMPLAINT FOR: (1)
15                                         )    FEDERAL TRADEMARK
           vs.                             )    INFRINGEMENT [15 U.S.C. § 1114];
16                                         )    (2) FEDERAL UNFAIR
     SMASHBURGER IP HOLDER LLC, )               COMPETITION [15 U.S.C. § 1125(a)];
17   a Delaware limited liability company; )    (3) FEDERAL TRADEMARK
     and SMASHBURGER                       )    DILUTION [15 U.S.C. § 1125(c)]; (4)
18   FRANCHISING LLC,                      )    CALIFORNIA STATUTORY
     a Delaware limited liability company, )    TRADEMARK INFRINGEMENT
19                                         )    [Cal. Bus. & Prof. Code §§ 14320(a),
                              Defendants. )     14330)]; (5) CALIFORNIA
20                                         )    STATUTORY TRADEMARK
                                           )    DILUTION [Cal. Bus. & Prof. Code §
21                                         )    14247]; (6) COMMON LAW UNFAIR
                                           )    COMPETITION; AND (7)
22                                         )    CALIFORNIA STATUTORY
                                           )    UNFAIR COMPETITION [Cal. Bus.
23                                         )    & Prof. Code §§ 17200 et seq.]
                                           )
24                                         )    JURY TRIAL DEMANDED
                                           )
25                                         )
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 1         Plaintiff In-N-Out Burgers (“In-N-Out”) alleges as follows:
 2                             JURISDICTION AND VENUE
 3         1.     This is a civil action seeking monetary damages and injunctive relief
 4   under federal and California law based upon trademark infringement, unfair
 5   competition, and trademark dilution by defendants Smashburger IP Holder LLC and
 6   Smashburger Franchising LLC (collectively, “Smashburger”). Smashburger has
 7   recently adopted the TRIPLE DOUBLE and SMASHBURGER TRIPLE DOUBLE
 8   marks to sell burgers in direct competition with In-N-Out, which sells burgers under,
 9   inter alia, the DOUBLE-DOUBLE, TRIPLE TRIPLE, and QUAD QUAD marks,
10   each of which is protected by federal and California trademark registrations.
11   Smashburger’s use of the TRIPLE DOUBLE and SMASHBURGER TRIPLE
12   DOUBLE marks is likely to confuse and mislead the consuming public, and injure
13   In-N-Out, by causing consumers to believe incorrectly that Smashburger’s products
14   originate from or are authorized by In-N-Out.
15         2.     The Court has federal question jurisdiction under 15 U.S.C. § 1121 and
16   28 U.S.C. §§ 1331 and 1338(a) over In-N-Out’s First, Second, and Third Claims for
17   Relief for infringement of federally registered trademarks, unfair competition, and
18   trademark dilution actionable under the Lanham Act, 15 U.S.C. §§ 1051 et seq.,
19   because the claims arise under an act of Congress relating to trademarks. The Court
20   has jurisdiction pursuant to 28 U.S.C. § 1338(b) over Smashburger’s Fourth, Fifth,
21   Sixth, and Seventh Claims for Relief under California law for infringement of
22   California-registered trademarks, dilution of trademarks, common law unfair
23   competition, and statutory unfair competition under Cal. Bus. & Prof. Code §§ 17200
24   et seq. because those claims are joined with substantial and related claims under the
25   trademark laws, and the Court also has supplemental jurisdiction over those claims
26   under 28 U.S.C. § 1367(a) because those claims are so related to In-N-Out’s claims
27   within the Court’s original jurisdiction that they form part of the same case or
28   controversy under Article III of the United States Constitution.

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 1         3.     This Court has personal jurisdiction over Smashburger, and venue is
 2   proper in the Central District of California pursuant to 28 U.S.C. § 1391(b). In-N-
 3   Out is informed and believes, and based thereon alleges, that Smashburger operates
 4   its restaurants throughout the Central District of California, including in Orange
 5   County. The effects of Smashburger’s infringing acts have been felt in the State of
 6   California and in this District, where In-N-Out is located.
 7                                      THE PARTIES
 8         4.     In-N-Out is a California corporation having its principal place of
 9   business in Irvine, California. In-N-Out operates a chain of quick-service restaurants
10   specializing in hamburger and cheeseburger sandwiches and other products and
11   services.
12         5.     In-N-Out is informed and believes, and based thereon alleges, that
13   defendants Smashburger IP Holder LLC and Smashburger Franchising LLC are both
14   Delaware limited liability companies, each having a principal place of business at
15   3900 East Mexico Avenue, Suite 1200, Denver, Colorado 80210. In-N-Out is further
16   informed and believes, and based thereon alleges, that Smashburger operates a chain
17   of quick-service restaurants specializing in hamburger and cheeseburger sandwiches
18   and other products and services.
19                         IN-N-OUT’S BUSINESS AND MARKS
20         6.     Founded in 1948 by Harry Snyder and his wife Esther Snyder, In-N-Out
21   operates a highly recognizable and successful chain of quick-service restaurants
22   specializing in hamburger and cheeseburger sandwiches and other products and
23   services. In-N-Out remains a family owned and operated business and currently
24   operates more than 300 restaurants in the United States.
25         7.     Celebrated for its fresh food and other high standards of quality, In-N-
26   Out consistently rates as the top quick-service restaurant in customer satisfaction
27   surveys. In 2015, Zagat users rated In-N-Out as the favorite chain restaurant in Los
28   Angeles. In April 2015, In-N-Out earned the top ranking from consumers for the

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 1   third year in a row in the Limited-Service category in Nation’s Restaurant News’
 2   annual Consumer Picks report.
 3         8.      In 2014, the National Restaurant Association ranked In-N-Out as the
 4   nation’s top hamburger spot, “head and shoulders above the rest.” Also in 2014, OC
 5   Metro magazine named In-N-Out as the most trustworthy brand in Orange County
 6   for the second consecutive year, based on a consumer survey. In 2013, the Quick
 7   Service Restaurant (QSR) Benchmark Study rated In-N-Out as “America’s Favorite
 8   Burger Brand.”
 9         9.      In 2011, Zagat’s fast food survey lauded In-N-Out as the number one
10   large quick service chain in the “Top Food” category. In 2010, Consumer Reports
11   ranked In-N-Out as the nation’s top burger sandwich chain
12         10.     In-N-Out has amassed tremendous consumer goodwill over the
13   decades. It is an iconic brand, and its products and services have acquired renown
14   and a fiercely devoted fan base throughout the country, including in its home state of
15   California.
16         11.     In-N-Out owns a family of marks, along with the goodwill associated
17   therewith, that are comprised of a number followed by another number and that are
18   used in its restaurants in association with its food offerings, including the following
19   valid and subsisting United States trademark registrations (collectively, the “Federal
20   Registered Marks”) registered on the Principal Register of the United States Patent
21   and Trademark Office (the “USPTO”):
22                                   U.S.
                                               Registration Description of Services
23    Exhibit         Mark        Registration
                                                  Date            or Goods
                                      No.
24
                                                                  Specially prepared
25                 DOUBLE-                                        sandwich as part of
         A         DOUBLE           1,002,370       1/21/1975
26
                                                                  restaurant services (IC
                                                                  042)
27

28

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 1                               U.S.
                                           Registration Description of Services
 2    Exhibit      Mark       Registration
                                              Date            or Goods
                                  No.
 3
                                                            Hamburger Sandwiches
 4                                                          for Consumption On or
                 DOUBLE                                     Off the Premises (IC
 5      B                      1,165,723      8/18/1981
                 DOUBLE                                     030)
 6

 7                                                          A sandwich, namely, a
 8              DOUBLE-                                     burger the principal
        C       DOUBLE         3,572,485      2/10/2009     ingredients of which are
 9                                                          two meat patties and two
10                                                          slices of cheese (IC 030)
                                                            Sandwiches; custom-
11                                                          made sandwiches (IC
12                                                          030); prepared meals
                                                            consisting primarily of
13              DOUBLE-                                     meat and vegetables and
        D       DOUBLE         4,446,247      12/10/2013
14                                                          including bread and
                                                            cheese, and the aforesaid
15                                                          meals provided in bowls,
16                                                          boxes, bags and trays (IC
                                                            029)
17                                                          Aprons; Hats; Shirts for
18                                                          infants, babies, toddlers
        E        DOUBLE        4,625,449      10/21/2014    and children (IC 025)
19
                 DOUBLE
20

21
                                                            Hamburger sandwiches
22               TRIPLE                                     and cheeseburger
        F        TRIPLE        1,598,825      5/29/1990     sandwiches, for
23
                                                            consumption on or off
24                                                          the premises (IC 030)
25

26

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 1                                     U.S.
                                                 Registration Description of Services
 2    Exhibit          Mark         Registration
                                                    Date            or Goods
                                        No.
 3
                                                                    Hamburger sandwiches
 4                                                                  and cheeseburger
 5                    QUAD                                          sandwiches, for
         G            QUAD           1,598,826       5/29/1990      consumption on or off
 6                                                                  the premises (IC 030)
 7

 8                                                                  Hamburger sandwiches
 9                                                                  and cheeseburger
         H             2X2           1,609,251        8/7/1990      sandwiches, for
10                                                                  consumption on or off
11                                                                  the premises (IC 030)
                                                                    Made-to-order
12                                                                  cheeseburger sandwiches
13                                                                  having three cooked beef
          I            3X3           1,602,609       6/19/1990      hamburger patties and
14                                                                  three cheese slices, for
15                                                                  consumption on or off
                                                                    the premises (IC 030)
16                                                                  Made-to-order
17                                                                  cheeseburger sandwiches
                                                                    having four cooked beef
18        J            4X4           1,955,465       2/13/1996      hamburger patties and
19                                                                  four cheese slices for
                                                                    consumption on or off
20                                                                  the premises (IC 030)
21

22            12.   True and correct copies of the registration certificates for the Federal
23   Registered Marks are attached hereto as Exhibits A-J, respectively, and are
24   incorporated by reference.
25            13.   Out of the ten Federal Registered Marks, the following eight are
26   incontestable registrations pursuant to 15 U.S.C. § 1065: U.S. Reg. Nos. 1,002,370,
27   1,165,723, 3,572,485, 1,598,825, 1,598,826, 1,609,251, 1,602,609, and 1,955,465.
28

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 1            14.   Moreover, In-N-Out owns a similar family of California trademark and
 2   service mark registrations that are also comprised of a number followed by another
 3   number, including the following marks (collectively, the “State Registered Marks”)
 4   registered with the California Secretary of State:
 5

 6                                 California
                                               Registration Description of Services
 7    Exhibit          Mark       Registration
                                                  Date            or Goods
                                      No.
 8
                                                                  Restaurant services in
 9                                                                connection with the sale
                    DOUBLE-                                       of food such as
10       K          DOUBLE            2539          9/19/1973
                                                                  hamburgers,
11                                                                cheeseburgers (Class No.
12
                                                                  100)
                                                                  Restaurant foods such as
13                  DOUBLE-                                       hamburgers,
          L                           51534         9/19/1973
14                  DOUBLE                                        cheeseburgers (Class No.
                                                                  46)
15                                                                Hamburger and
16                    TRIPLE                                      cheeseburger sandwiches
         M            TRIPLE          91353         1/12/1990     for consumption on or
17                                                                off the premises (Class
18                                                                No. 46)
                                                                  Hamburger and
19                                                                cheeseburger sandwiches
                      QUAD
20       N            QUAD            91373         1/17/1990     for consumption on or
                                                                  off the premises (Class
21
                                                                  No. 46)
22                                                                Hamburger and
                                                                  cheeseburger sandwiches
23       O                            91354         1/12/1990
                       2X2                                        for consumption on or
24                                                                off the premises (Class
                                                                  No. 46)
25
                                                                  Hamburger and
26                                                                cheeseburger sandwiches
          P            3X3            91381         1/17/1990     for consumption on or
27
                                                                  off the premises (Class
28                                                                No. 46)

                                             7
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 1                                  California
                                                Registration Description of Services
 2    Exhibit         Mark         Registration
                                                   Date            or Goods
                                       No.
 3
                                                                   Hamburger and
 4                                                                 cheeseburger sandwiches
         Q            4X4             91368         1/17/1990      for consumption on or
 5
                                                                   off the premises (Class
 6                                                                 No. 46)
 7

 8         15.     True and correct copies of the registrations for the State Registered
 9   Marks, with the most recent renewal certificates, are attached hereto as Exhibits K-
10   Q, respectively, and are incorporated by reference.
11         16.     In-N-Out owns all right, title and interest in and to the Federal
12   Registered Marks and the State Registered Marks (collectively, the “Registered
13   Marks”). As shown above, In-N-Out has obtained trademark and service mark
14   registrations for the Registered Marks for a range of food and other products and
15   services, including, inter alia, restaurant services, and hamburger and cheeseburger
16   sandwiches.
17         17.     The Registered Marks have been used in interstate commerce, including
18   extensively in California, to identify and distinguish In-N-Out’s products and
19   services for decades, and they serve as symbols of In-N-Out’s quality, reputation, and
20   goodwill. In-N-Out’s menu has largely stayed the same since it opened its first
21   restaurant almost seventy (70) years ago and it has become well known across the
22   United States for its dedication to serving fresh, high quality and delicious food.
23         18.     Since at least as early as 1963, In-N-Out has continuously used its
24   registered DOUBLE-DOUBLE trademark in connection with hamburger sandwiches
25   in interstate commerce. Since at least as early as 1966, In-N-Out has continuously
26   used its registered TRIPLE TRIPLE trademark in connection with hamburger
27   sandwiches in interstate commerce.
28

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 1         19.    In-N-Out uses its Registered Marks in association with food and
 2   restaurant services for its customers. As one example, In-N-Out uses its Registered
 3   Marks on its menu, food packaging, advertising materials and promotional items.
 4         20.     As another example, In-N-Out uses the Registered Marks on its “Not-
 5   So-Secret Menu” and through customer use. The Not-So-Secret Menu refers to menu
 6   items that are not shown on the menu in In-N-Out’s restaurants but are publicized and
 7   widely known and used by customers, whether by word of mouth or, more recently,
 8   by online communications like social media and blog posts. Ordering such items
 9   from the Not-So-Secret Menu is known to be a unique and popular feature of In-N-
10   Out that appeals to customer enjoyment and satisfaction.
11         21.    In-N-Out is also widely known for providing variations of its menu
12   items to customize orders for providing an exceptional customer experience.
13   Accordingly, In-N-Out’s customers commonly mix the DOUBLE-DOUBLE,
14   TRIPLE TRIPLE, and QUAD QUAD menu names to form names to customize
15   orders, including “Triple Double.”
16         22.    Likewise, In-N-Out’s customers also commonly mix the 2 X 2, 3 X 3,
17   and 4 X 4 menu names to form names to customize orders, including “3 X 2.”
18         23.    Through its restaurants and online store, In-N-Out has sold and
19   continues to sell goods throughout the United States.
20         24.    In-N-Out makes use of its Registered Marks in interstate commerce,
21   including extensively throughout California, by displaying them on product
22   packaging, menus, signage, promotional materials and advertising materials.
23         25.    In-N-Out has invested millions of dollars in developing, advertising and
24   otherwise promoting the Registered Marks in the United States in an effort to create a
25   strong association among In-N-Out’s products and services, its consumer goodwill
26   and its Registered Marks.
27         26.    As a result of the care and skill exercised by In-N-Out in the conduct of
28   its business, the high quality of its products and services offered under its Registered

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 1   Marks, and the extensive advertising, sale and promotion of In-N-Out’s products
 2   bearing the Registered Marks, the Registered Marks have acquired secondary
 3   meaning throughout the United States, and they are widely recognized by the general
 4   consuming public as a designation that In-N-Out is the source of the goods and
 5   services bearing the Registered Marks.
 6         27.     Since the date of first use of each of the Registered Marks, In-N-Out has
 7   intended to maintain exclusive ownership of the Registered Marks and to continue
 8   use of the Registered Marks in interstate commerce, including extensively in
 9   California, in connection with In-N-Out’s products and services.
10         28.     In-N-Out has carefully monitored and policed the use of the Registered
11   Marks and maintains tight control over the use of the Registered Marks.
12                        SMASHBURGER’S INFRINGING ACTS
13         29.     In-N-Out is informed and believes, and based thereon alleges, that
14   Smashburger is in exactly the same industry as In-N-Out, as Smashburger also
15   operates a chain of quick-service restaurants specializing in hamburger and
16   cheeseburger sandwiches.
17         30.     In-N-Out is informed and believes, and based thereon alleges, that
18   Smashburger operates more than 345 restaurants across 38 states in the United States,
19   including 36 locations in California.
20         31.     In-N-Out is informed and believes, and based thereon alleges, that in
21   July 2017, Smashburger launched a new burger product under the marks TRIPLE
22   DOUBLE and SMASHBURGER TRIPLE DOUBLE in all of its restaurant locations
23   nationwide.
24         32.     Smashburger has advertised, and continues to advertise, its
25   TRIPLE DOUBLE burger on the home page of Smashburger’s website, where
26   the TRIPLE DOUBLE mark is prominently displayed. See
27   http://smashburger.com/. A true and correct screenshot of the home page of
28   Smashburger’s webpage is attached hereto as Exhibit R.
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 1         33.   Smashburger has advertised, and continues to advertise, its
 2   TRIPLE DOUBLE burger on its social media handles. See
 3   https://www.instagram.com/p/BWX6_gHgUY-/?hl=en&taken-
 4   by=smashburgerA. A true and correct screenshot of a post on Smashburger’s
 5   Instagram account is attached hereto as Exhibit S.
 6         34.   In-N-Out is informed and believes, and based thereon alleges, that
 7   Smashburger’s burger sold under the TRIPLE DOUBLE and SMASHBURGER
 8   TRIPLE DOUBLE marks has a similar price point to In-N-Out’s DOUBLE-
 9   DOUBLE and TRIPLE TRIPLE burgers.
10         35.   Prior to its use of the TRIPLE DOUBLE and SMASHBURGER
11   TRIPLE DOUBLE marks, Smashburger IP Holder LLC filed four intent-to-use
12   applications with the USPTO on November 14, 2016, which are summarized in the
13   following table (collectively, “Smashburger’s Trademark Applications”):
14

15                           U.S. App.         Filing       Description of Services or
             Mark
16                           Serial No.        Date                  Goods
                                                   Carry-out restaurants;
17     TRIPLE DOUBLE         87/236,154 11/14/2016 restaurant services; self-service
18                                                 restaurants (IC 043)
19
                                                   Carry-out restaurants;
       SMASHBURGER           87/236,167 11/14/2016 restaurant services; self-service
20     TRIPLE DOUBLE                               restaurants (IC 043)
21

22     TRIPLE DOUBLE         87/236,274 11/14/2016
                                                          Sandwiches (IC 030)
23

24     SMASHBURGER
       TRIPLE DOUBLE         87/236,287 11/14/2016 Sandwiches (IC 030)
25

26
           36.   The USPTO published all four applications for opposition in the Official
27
     Gazette on April 4, 2017.
28

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 1         37.   In-N-Out filed a Consolidated Notice of Opposition with the Trademark
 2   Trial and Appeal Board (the “TTAB”) on June 2, 2017, opposing Smashburger’s
 3   Trademark Applications. This opposition proceeding is currently pending before the
 4   TTAB as In-N-Out Burgers v. Smashburger IP Holder LLC, Opp. No. 91/234,860.
 5         38.   Smashburger was aware of the existence of In-N-Out’s Registered
 6   Marks before it began using the TRIPLE DOUBLE and SMASHBURGER TRIPLE
 7   DOUBLE marks in commerce, as is evidenced by the fact that Smashburger first
 8   commenced use of such marks in commerce after In-N-Out filed its Consolidated
 9   Notice of Opposition in which it opposed Smashburger’s Trademark Applications.
10         39.   In-N-Out is informed and believes, and based thereon alleges, that
11   Smashburger chose to use the TRIPLE DOUBLE and SMASHBURGER TRIPLE
12   DOUBLE marks because Smashburger knew, prior to its use such marks, that each of
13   In-N-Out’s Registered Marks is famous and connotes a high standard of quality.
14         40.   In-N-Out is informed and believes, and based thereon alleges, that
15   Smashburger, being in the same field as In-N-Out, providing the same products as In-
16   N-Out and being aware of In-N-Out’s marks and reputation associated therewith,
17   chose to adopt and use the TRIPLE DOUBLE and SMASHBURGER TRIPLE
18   DOUBLE marks to trade on the goodwill associated with In-N-Out’s Registered
19   Marks.
20         41.   In-N-Out is not affiliated in any way with Smashburger’s business.
21         42.   Without authorization from In-N-Out, and despite the fact that
22   Smashburger is in no way affiliated with In-N-Out, Smashburger has sold and
23   advertised, and continues to sell and advertise, its TRIPLE DOUBLE burger.
24         43.   Smashburger’s unauthorized use of the TRIPLE DOUBLE and
25   SMASHBURGER TRIPLE DOUBLE marks in the sale of its burger products and in
26   its marketing and advertising materials creates a likelihood of consumer confusion
27   because actual and prospective customers are likely to believe that In-N-Out has
28   approved or licensed Smashburger’s use of its marks, or that In-N-Out is somehow

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 1   affiliated or connected with Smashburger or its services. In fact, In-N-Out has not
 2   sponsored, licensed, or authorized Smashburger’s goods or services, and
 3   Smashburger and its services are not affiliated or connected with In-N-Out.
 4         44.      Further, Smashburger’s use of In-N-Out’s famous trademarks implies
 5   that the quality of the goods and services offered by Smashburger is the same as that
 6   of In-N-Out.
 7                                   FIRST CLAIM FOR RELIEF
 8                      (Federal Trademark Infringement (15 U.S.C. § 1114))
 9         45.      In-N-Out refers to the allegations contained in paragraphs 1 through 44
10   above and incorporates them by reference as though fully set forth herein.
11         46.      In-N-Out exclusively owns the Registered Marks, which are valid and
12   enforceable.
13         47.      In-N-Out has used the Registered Marks in interstate commerce in
14   connection with the advertising and promotion of its restaurant goods and services.
15         48.      Without authorization, Smashburger has used and continues to use the
16   marks TRIPLE DOUBLE and SMASHBURGER TRIPLE DOUBLE in interstate
17   commerce in connection with its restaurant business and hamburger products.
18         49.      In-N-Out is informed and believes, and based thereon alleges, that
19   Smashburger’s unauthorized use of the marks TRIPLE DOUBLE and
20   SMASHBURGER TRIPLE DOUBLE has caused, and will likely continue to cause,
21   confusion, mistake, or deception in the relevant consumer market.
22         50.      Smashburger’s unauthorized use of the marks TRIPLE DOUBLE and
23   SMASHBURGER TRIPLE DOUBLE constitutes infringement of federally
24   registered trademarks in violation of 15 U.S.C. § 1114.
25         51.      In-N-Out has suffered, and will continue to suffer, damages as a result of
26   Smashburger’s unauthorized use of the marks TRIPLE DOUBLE and
27   SMASHBURGER TRIPLE DOUBLE.
28

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 1          52.    In-N-Out is informed and believes, and based thereon alleges, that
 2   Smashburger has acted in bad faith and/or willfully in using the marks TRIPLE
 3   DOUBLE and SMASHBURGER TRIPLE DOUBLE in connection with its
 4   restaurant services and burger sandwiches.
 5          53.    Smashburger’s infringing acts have caused and will continue to cause
 6   In-N-Out to suffer irreparable injuries to its reputation and goodwill. In-N-Out does
 7   not have an adequate remedy at law to recover for this harm, and it is therefore
 8   entitled to injunctive relief.
 9                                    SECOND CLAIM FOR RELIEF
10                        (Federal Unfair Competition (15 U.S.C. § 1125(a)))
11          54.    In-N-Out refers to the allegations contained in paragraphs 1 through 53
12   above and incorporates them by reference as though fully set forth herein.
13          55.    In-N-Out is informed and believes, and based thereon alleges, that
14   Smashburger’s unauthorized use of the marks TRIPLE DOUBLE and
15   SMASHBURGER TRIPLE DOUBLE in connection with its goods and services
16   constitutes a false designation of origin, a false or misleading description of fact,
17   and/or false or misleading representation of fact, and has caused and is likely to cause
18   confusion, mistake, and/or deception as to:
19          a.     the affiliation, connection or association of the Registered Marks
20                 with Smashburger;
21          b.     the origin, sponsorship or approval of Smashburger’s use of the
22                 Registered Marks; and
23          c.     the nature, characteristics, or qualities of Smashburger’s goods
24                 that bear and services that are rendered in connection with the
25                 marks TRIPLE DOUBLE and SMASHBURGER TRIPLE
26                 DOUBLE.
27          56.    The aforesaid acts constitute unfair competition in violation of 15 U.S.C.
28   § 1125(a).

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 1          57.    In-N-Out has suffered, and will continue to suffer, damages as a
 2   result of Smashburger’s unauthorized use of the marks TRIPLE DOUBLE and
 3   SMASHBURGER TRIPLE DOUBLE.
 4          58.    In-N-Out is informed and believes, and based thereon alleges, that
 5   Smashburger has acted in bad faith and/or willfully in using the marks TRIPLE
 6   DOUBLE and SMASHBURGER TRIPLE DOUBLE in connection with its
 7   restaurant services and burger sandwiches.
 8          59.    Smashburger’s infringing acts have caused and will continue to cause
 9   In-N-Out to suffer irreparable injuries to its reputation and goodwill. In-N-Out does
10   not have an adequate remedy at law to recover for this harm, and it is therefore
11   entitled to injunctive relief.
12                                    THIRD CLAIM FOR RELIEF
13                       (Federal Trademark Dilution (15 U.S.C. § 1125(c)))
14          60.    In-N-Out refers to the allegations contained in paragraphs 1 through 59
15   above and incorporates them by reference as though fully set forth herein.
16          61.    The Registered Marks are distinctive and famous in the United
17   States and were famous before Smashburger’s use of the marks TRIPLE
18   DOUBLE and SMASHBURGER TRIPLE DOUBLE.
19          62.    Smashburger’s actions have and are likely to dilute, blur, and
20   tarnish the distinctive quality of the Registered Marks, and lessen the capacity
21   of the Registered Marks to identify and distinguish In-N-Out’s products.
22          63.    Smashburger’s acts constitute trademark dilution in violation of
23   15 U.S.C. § 1125(c).
24          64.    In-N-Out has suffered, and will continue to suffer, damages as a
25   result of Smashburger’s conduct constituting trademark dilution.
26          65.    Smashburger’s acts have caused and will continue to cause In-N-Out to
27   suffer irreparable injuries to its reputation and goodwill. In-N-Out does not have an
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 1   adequate remedy at law to recover for this harm, and is therefore entitled to
 2   injunctive relief pursuant to 15 U.S.C. § 1125(c)(2).
 3                                FOURTH CLAIM FOR RELIEF
 4            (Trademark Infringement (Cal. Bus. & Prof. Code §§ 14320(a), 14330))
 5         66.    In-N-Out refers to the allegations contained in paragraphs 1 through 65
 6   above and incorporates them by reference as though fully set forth herein.
 7         67.    In-N-Out exclusively owns the State Registered Marks, which are valid
 8   and enforceable.
 9         68.    In-N-Out has used the State Registered Marks in interstate commerce,
10   including extensively in California, in connection with the advertising and promotion
11   of its restaurant goods and services.
12         69.    Without consent or authorization, Smashburger has used and continues
13   to use the marks TRIPLE DOUBLE and SMASHBURGER TRIPLE DOUBLE in
14   interstate commerce, including in California, in connection with its restaurant
15   business and hamburger products.
16         70.    In-N-Out is informed and believes, and based thereon alleges,
17   that Smashburger’s unauthorized use of the marks TRIPLE DOUBLE and
18   SMASHBURGER TRIPLE DOUBLE has caused, and will likely continue to
19   cause, confusion, mistake, or deception in the relevant consumer market.
20         71.    In-N-Out has suffered, and will continue to suffer, damages as a result of
21   Smashburger’s unauthorized use of the marks TRIPLE DOUBLE and
22   SMASHBURGER TRIPLE DOUBLE.
23         72.    Smashburger’s unauthorized use of the marks TRIPLE DOUBLE
24   and SMASHBURGER TRIPLE DOUBLE constitutes infringement of state
25   registered trademarks in violation of Cal. Bus. & Prof. Code §§ 14320(a) and
26   14330.
27         73.    In-N-Out is informed and believes, and based thereon alleges, that
28   Smashburger has acted in bad faith and/or willfully in using the marks TRIPLE

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 1   DOUBLE and SMASHBURGER TRIPLE DOUBLE in connection with its
 2   restaurant services and burger sandwiches.
 3          74.    Smashburger’s infringing acts have caused and will continue to cause
 4   In-N-Out to suffer irreparable injuries to its reputation and goodwill. In-N-Out does
 5   not have an adequate remedy at law to recover for this harm, and is therefore entitled
 6   to injunctive relief.
 7                                 FIFTH CLAIM FOR RELIEF
 8                     (Trademark Dilution (Cal. Bus. & Prof. Code § 14247))
 9          75.    In-N-Out refers to the allegations contained in paragraphs 1 through 74
10   above and incorporates them by reference as though fully set forth herein.
11          76.    In-N-Out is the owner of the Registered Marks, which are famous marks
12   that are inherently distinctive throughout California, both inherently and through
13   acquired distinctiveness as a result of In-N-Out’s long-term advertising, publicity,
14   and use of the Registered Marks in California for as long as more than 50 years, as a
15   result of which the Registered Marks are widely recognized by the general
16   consuming public of California as a designation of source of In-N-Out’s goods and
17   services. In particular, but without limitation, the Registered Marks are famous and
18   distinctive in each city where Smashburger operates in California.
19          77.    Smashburger’s use of the marks TRIPLE DOUBLE and
20   SMASHBURGER TRIPLE DOUBLE began after the Registered Marks became
21   famous in California.
22          78.    Smashburger’s use of the marks TRIPLE DOUBLE and
23   SMASHBURGER TRIPLE DOUBLE is likely to cause dilution of the distinctive
24   nature of the Registered Marks by blurring the Registered Marks, i.e., such use is
25   likely to lessen consumers’ association of In-N-Out’s famous Registered Marks with
26   In-N-Out’s goods and services.
27          79.    Smashburger’s use of the marks TRIPLE DOUBLE and
28   SMASHBURGER TRIPLE DOUBLE is likely to cause dilution of the distinctive

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 1   nature of the Registered Marks by lessening the extensive and valuable goodwill,
 2   quality, and reputation that is associated with the Registered Marks.
 3         80.    Smashburger’s trademark dilution in violation of Cal. Bus. & Prof. Code
 4   § 14247 has caused substantial injury to In-N-Out and is continuing to cause
 5   substantial injury. In-N-Out has no adequate remedy at law for these injuries. Unless
 6   Smashburger is restrained by this Court from continuing its trademark dilution in
 7   violation of Cal. Bus. & Prof. Code § 14247, these injuries will continue to accrue.
 8   Pursuant to Cal. Bus. & Prof. Code § 14247, In-N-Out is entitled to preliminary and
 9   permanent injunctive relief against Smashburger’s trademark dilution, throughout the
10   geographic area in which those marks are found to have become famous prior to
11   commencement of Smashburger’s junior use.
12                                 SIXTH CLAIM FOR RELIEF
13                  (Unfair Competition Under the California Common Law)
14         81.    In-N-Out refers to the allegations contained in paragraphs 1 through 80
15   above and incorporates them by reference as though fully set forth herein.
16         82.    The acts of Smashburger, complained of above, constitute unfair
17   competition in violation of the common law of the State of California.
18         83.    Upon information and belief, Smashburger’s acts have been committed
19   and are being committed with the deliberate purpose and intent of appropriating and
20   trading on In-N-Out’s goodwill and reputation.
21         84.    In-N-Out has suffered, and will continue to suffer, damages as a result of
22   Smashburger’s unfair competition.
23         85.    The actions of Smashburger described herein were taken with substantial
24   certainty that such acts would cause harm to In-N-Out, in conscious disregard for the
25   rights of In-N-Out and by conduct that was done with malice and ill-will and intent to
26   harm In-N-Out, such as to constitute oppression, fraud, malice, and despicable
27   conduct under Cal. Civ. Code § 3294, entitling In-N-Out to exemplary damages in an
28   amount appropriate to punish and set an example of Smashburger.

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 1         86.    The foregoing acts of Smashburger have caused In-N-Out irreparable
 2   harm, and, unless enjoined, Smashburger’s acts as alleged herein will continue to
 3   cause In-N-Out irreparable harm, loss and injury.
 4                               SEVENTH CLAIM FOR RELIEF
 5                (Unfair Competition (Cal. Bus. & Prof. Code §§ 17200 et seq.))
 6         87.    In-N-Out refers to the allegations contained in Paragraphs 1
 7   through 86 above and incorporates them by reference as though fully set forth
 8   herein.
 9         88.    Smashburger, by doing the acts alleged herein, has acted in violation of
10   15 U.S.C. §§ 1114 and 1125 and Cal. Bus. & Prof. Code § 14247, and has thereby
11   engaged in unfair and unlawful business practices constituting statutory unfair
12   competition in violation of Cal. Bus. & Prof. Code §§ 17200 et seq.
13         89.    Smashburger’s unfair and unlawful business practices in violation of
14   Cal. Bus. & Prof. Code §§ 17200 et seq. have caused substantial injury to In-N-Out
15   and are continuing to cause substantial injury. In-N-Out has no adequate remedy at
16   law for these injuries. Unless Smashburger is restrained by this Court from
17   continuing its unfair and unlawful business practices in violation of Cal. Bus. & Prof.
18   Code §§ 17200 et seq., these injuries will continue to accrue. Pursuant to Cal. Bus. &
19   Prof. Code § 17204, In-N-Out is entitled to preliminary and permanent injunctive
20   relief against Smashburger’s unfair and unlawful business practices constituting
21   statutory unfair competition in violation of Cal. Bus. & Prof. Code §§ 17200 et seq.
22

23         WHEREFORE, In-N-Out requests judgment in its favor and against
24   Smashburger as follows:
25         a.     That Smashburger, its agents, servants, employees, successors,
26                assigns and attorneys and any related companies, and all persons
27                in active concert or participation with one or more of them be
28                permanently enjoined and restrained from unlawfully using the

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 1              marks TRIPLE DOUBLE and SMASHBURGER TRIPLE
 2              DOUBLE, or any other mark that is confusingly similar to the
 3              Registered Marks;
 4        b.    For a preliminary injunction and a permanent injunction
 5              enjoining and restraining Smashburger, and its directors, officers,
 6              agents, servants, employees, representatives, successors, assigns
 7              and any person acting at their request or direction or in active
 8              concert or participation with them, including but not limited to
 9              their franchisees, or any company related to Smashburger, from
10              using in California the marks TRIPLE DOUBLE and
11              SMASHBURGER TRIPLE DOUBLE, or any other mark that is
12              likely to dilute the Registered Marks;
13        c.    For an award of compensatory damages in an amount to be
14              determined at trial;
15        d.    For a finding that this is an exceptional case under the Lanham
16              Act;
17        e.    For treble damages pursuant to 15 U.S.C. § 1117;
18        f.    For exemplary damages as authorized by law;
19        g.    For an award of reasonable attorney fees, investigatory fees and
20              expenses; and
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 1        h.    For any such other relief that the circumstances may require and
 2              that the Court deems just and proper.
 3

 4   Dated: August 28, 2017
 5                                    PILLSBURY WINTHROP SHAW PITTMAN LLP
                                      CAROLYN S. TOTO
 6                                    JEFFREY D. WEXLER
                                      SARKIS A. KHACHATRYAN
 7

 8                                    By       /s/ Carolyn S. Toto
 9
                                               Carolyn S. Toto
                                      Attorneys for Plaintiff In-N-Out Burgers
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 1                           DEMAND FOR JURY TRIAL
 2         Plaintiff In-N-Out Burgers hereby demands a jury trial, as provided by Rule 38
 3   of the Federal Rules of Civil Procedure, on all claims that are triable to a jury.
 4

 5   Dated: August 28, 2017
 6                                        PILLSBURY WINTHROP SHAW PITTMAN LLP
                                          CAROLYN S. TOTO
 7                                        JEFFREY D. WEXLER
                                          SARKIS A. KHACHATRYAN
 8

 9                                        By       /s/ Carolyn S. Toto
10
                                                   Carolyn S. Toto
                                          Attorneys for Plaintiff In-N-Out Burgers
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